                       Case 3:18-md-02843-VC Document 1038-2 Filed 09/01/22 Page 1 of 4


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               9
                    Attorneys for Defendant Facebook, Inc.,
           10

           11

           12                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           13                                       SAN FRANCISCO DIVISION

           14

           15      IN RE: FACEBOOK, INC. CONSUMER PRI-           CASE NO. 3:18-MD-02843-VC
                   VACY USER PROFILE LITIGATION,
           16                                                    DECLARATION OF DEBORAH STEIN IN
                                                                 SUPPORT OF FACEBOOK, INC.’S
           17      This document relates to:                     STATEMENT IN SUPPORT OF
                                                                 PLAINTIFFS’ ADMINISTRATIVE
           18      ALL ACTIONS                                   MOTION TO CONSIDER WHETHER
                                                                 ANOTHER PARTY’S MATERIALS
           19                                                    SHOULD BE SEALED
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                     DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &       PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
Crutcher LLP
                                                      SHOULD BE SEALED
                                                   CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1038-2 Filed 09/01/22 Page 2 of 4


               1             I, Deborah Stein, hereby declare as follows:
               2             1.     I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
               3
                   Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of the
               4
                   State Bars of California and New York. I submit this declaration in support of Facebook’s Statement
               5
                   in Support of Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Materials Should
               6

               7   Be Sealed. I make this declaration on my own knowledge, and I would testify to the matters stated

               8   herein under oath if called upon to do so.

               9             2.     Attached as Exhibits 5-A, 31-A, 95-A, 98-A, 103-A, 105-A, 106-A, and 116-B are a
           10
                   true and correct unredacted copy of Plaintiffs’ Exhibits 5, 31, 95, 98, 103, 105, 106, and 116.
           11
                             3.     Attached as Exhibits 5-B, 31-B, 95-B, 98-B, 103-B, 105-B, 106-B, and 116-B are a
           12
                   true and correct redacted copy of Plaintiffs’ Exhibits 5, 31, 95, 98, 103, 105, 106, and 116
           13
                             4.     Facebook proposes redacting confidential information regarding its data systems and
           14

           15      Facebook’s proprietary data storage and processing practices. 1 How Facebook stores, manages, tracks,
                                                                                 0F




           16      preserves, deletes, and processes data for billions of users across its data systems are key components
           17      of its business that set it apart and ahead of its competitors. I understand that, if publicly disclosed,
           18
                   Facebook’s competitors could take advantage of this information to improve their own methods for
           19
                   managing high volumes of user data or for tracking and storing user data across data systems, to Face-
           20
                   book’s competitive disadvantage. Hackers and other bad actors also could use this information to better
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           22      understand Facebook’s data systems and target specific repositories of data, potentially harming both

           23      Facebook and its users.

           24

           25

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                   1
                       Exs. 31, 95, 98, 103.
           28
                                                                        1
                        DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &          PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
Crutcher LLP
                                                         SHOULD BE SEALED
                                                      CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1038-2 Filed 09/01/22 Page 3 of 4


               1             5.        Facebook proposes redacting confidential information regarding its tool for responding
               2   to law-enforcement requests for user records, including the name of the tool, the types of data it con-
               3
                   tains, the delta between the data within the tool and DYI, and the format in which data from the tool is
               4
                   produced. 2 I understand that public disclosure of details about this tool would reveal confidential in-
               5
                                  1F




                   formation regarding Facebook’s internal operations that could be used by bad actors to attempt to cir-
               6

               7   cumvent and evade Facebook’s enforcement strategies and current and future lawful governmental

               8   criminal investigations. I further understand that public disclosure of Facebook’s internal processes

               9   related to the tool could provide confidential information to competitors about how Facebook tracks
           10
                   and stores data across its systems, to Facebook’s competitive disadvantage.
           11
                             6.        Facebook proposes redacting confidential and competitively sensitive information re-
           12
                   garding its business programs, strategies, decisions, and partners, including confidential technical de-
           13
                   tails of how Facebook develops and uses data to target advertisements to the most relevant users. 3 This
           14
                                                                                                                      2F




           15      information also includes confidential strategic discussions regarding Facebook’s existing and poten-

           16      tial future business models and strategies, as well as confidential information regarding the identities
           17      of and negotiations with entities with which I understand Facebook has a business relationship. I am
           18
                   informed and believe that, if publicly disclosed, this information could harm Facebook’s relationships
           19
                   with these entities and undercut Facebook’s ability to negotiate with competitors of these entities. I
           20
                   am further informed and believe that public disclosure of confidential information regarding Face-
           21

           22      book’s business models could allow Facebook’s competitors to use this information developed at Fa-

           23      cebook’s expense to improve or develop their own competing techniques, to Facebook’s competitive

           24      disadvantage. Additionally, I am informed and believe that public disclosure of confidential infor-
           25      mation regarding Facebook’s business strategies could allow Facebook’s competitors to copy these
           26
                   2
           27          Exs. 31, 95.
                   3
                       Exs. 5, 31, 98, 105, 106, 116.
           28
                                                                         2
                        DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &          PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
Crutcher LLP
                                                         SHOULD BE SEALED
                                                      CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1038-2 Filed 09/01/22 Page 4 of 4


               1   strategies, developed at Facebooks expense, to more effectively compete with Facebook. Finally, Fa-
               2   cebook’s ability to serve advertisements to its users effectively is an essential aspect of its business and
               3
                   I am informed and believe that, if publicly disclosed, this information could allow Facebook’s compet-
               4
                   itors to improve their serve of advertisements to Facebook’s competitive disadvantage.
               5
                             7.      Facebook also asks the Court to permanently seal certain confidential information re-
               6

               7   garding Facebook employees, including the names of certain employees, email addresses, and perfor-

               8   mance evaluations. 4 If these names were disclosed publicly, competitors would have access to confi-
                                         3F




               9   dential information regarding Facebook’s employees.
           10
                             8.      Facebook proposes to seal confidential information regarding Facebook’s privacy and
           11
                   platform policy enforcement practices, including Facebook’s decision-making process for evaluating
           12
                   apps and developers that may be violating its policies. 5 I understand that public disclosure of details
           13
                                                                            4F




                   regarding Facebook’s policy-enforcement efforts would reveal confidential information regarding Fa-
           14

           15      cebook’s internal operations that could be used by bad actors to attempt to circumvent and evade Fa-

           16      cebook’s enforcement strategies, potentially harming Facebook and its users.
           17

           18                I declare under penalty of perjury under the laws of the United States of America that the fore-
           19
                   going is true and correct.
           20

           21
                   Executed on August 31, 2022 in Los Angeles, California.
           22

           23                                                                      /s/ Deborah Stein
           24                                                                     Deborah Stein

           25

           26
                   4
           27          Ex. 98.
                   5
                       Exs. 5, 31, 95.
           28
                                                                        3
                        DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S STATEMENT IN SUPPORT OF
Gibson, Dunn &          PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIALS
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                                                         SHOULD BE SEALED
                                                      CASE NO 3:18-MD-02843-VC
